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IN THE CIRCUIT COURT FOR THE
11™ JUDICIAL CIRCUIT IN AND
FOR MIAMI-DADE COUNTY, FLORIDA
CASE NO.
GORDON APPLEBY
Plaintiff,

V.

NCL (BAHAMAS) LTD. a Bermuda Company
d/b/a NORWEGIAN CRUISE LINE,

Defendant.
/

 

COMPLAINT AND DEMAND FOR JURY TRIAL

GORDON APPLEBY (“Plaintiff’), by and through his undersigned counsel, sues
Defendant, NCL (BAHAMAS) LTD. a Bermuda Company d/b/a NORWEGIAN CRUISE
LINE, (Defendant), and states at all material times:

1. This is an action for damages that exceed fifteen thousand dollars ($15,000.00),

exclusive of interest, costs, and attorney fees.

2. Defendant, NCL (BAHAMAS) LTD. a Bermuda Company d/b/a NORWEGIAN

CRUISE LINE, at all times material hereto, personally or through an agent:

a. Operated, conducted, engaged in, or carried on a business venture in this state
and/or county or had an office or agency in this state and/or county;

b. Was engaged in substantial activity within this state;
c. Operated vessels in the waters of this state;

d. Committed one or more of the acts stated in Florida Statutes, Section 48.081,
48.181 or 48.193;

e. The acts of Defendant set out in this Complaint occurred in whole or in part in
this county and/or state.
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3. Plaintiff brings this action at law for damages.

4. Plaintiff sues Defendant in personam for its negligence.

5. Plaintiff has satisfied all conditions precedent or they are waived.

6. Plaintiff is a Canadian citizen because he permanently resides in Canada, votes in
Canada, is homesteaded in Canada, and pays taxes according to his Canada citizenship.

7. Defendant is a foreign citizen for the purposes of this legal action because it is a Bermuda
company with its principal place of business in Florida. Caron v. NCL (Bah.), Ltd., 910 F.3d.
1359 (11 Cir. 2018).

Venue

8. Venue refers to the location where a case will be heard. In re Mickler, 163 So. 2d
257, 259 (Fla. 1964); Neirbo Co. v. Bethlehem Shipbuilding Corp., 308 U.S. 165, 167-68
(1939).

9. Venue differs from jurisdiction. See Lane v. State, 388 So. 2d 1022, 1026 (Fla. 1980);

Neirbo, 308 U.S. at 167-68.

10. A party can stipulate or consent to venue. Smith v. Williams, 160 Fla. 580, 587

(1948); Carnival Cruise Lines, Inc. v. Shute, 499 U.S. 585, 592-93 (1991).

11. It cannot be overstated that stipulating to personal jurisdiction or venue has no
bearing on whether a court has subject matter jurisdiction over a claim. See Pro-Art
Dental Lab, Inc. v Strategic Group, LLC, 986 So. 2d 1244, 1253-54 (Fla. 2008); see also

Leroy v. Great Western United Corp., 443 U.S. 173, 181 (1979).

12. Miami-Dade County is a proper venue for this case because Defendant is
headquartered here. Plaintiff is not bringing a contractual claim. Plaintiff's sole claim

is for damages base on negligence, in personam.
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Personal Jurisdiction

13. Personal jurisdiction refers to a court’s adjudicatory authority over the parties
brought before it. Venetian Salami Co. v. Parthenais, 554 So. 2d 499, 502 (Fla. 1989); Int]
Shoe Co. v. State of Wash, Office of Unemployment Comp. & Placement, 326 U.S. 310, 316-17

(1945).
14. Plaintiff submits to the personal jurisdiction of this Court by filing this lawsuit.

15. A party may submit or stipulate to the personal jurisdiction of a court. Acquadro v.
Bergeron, 851 So. 2d 665, 671 (Fla. 2003); Waterman Oy v. Carnival Cruise Lines, Inc., 632
So. 2d 724, 725-27 (Fla. 3d DCA 1994); Petrowski v. Hawkeye Sec. Ins. Co., 35 U.S. 495,

496 (1956).

16. This Court has personal jurisdiction over Defendant because they are headquartered
in Miami-Dade County, Florida. See Royal Caribbean Cruises, Ltd. v. Payumo, 608 So. 2d
862, 862-63 (Fla. 3d DCA 1992).

Subject Matter Jurisdiction
17. Subject matter jurisdiction refers to a court’s adjudicatory authority over the
claims brought before it. Atlantic Coast Line. Ry. Co. v. Fla. Fine Fruit Co., 93 Fla. 161,

165 (1927); Balance v. Forsyth, 62 U.S. 389, 389-90 (1858).

18. Neither a state court nor a federal court can hear a case for which it lacks subject
matter jurisdiction. Tompkins v. State, 894 So. 2d 857, 859 (Fla. 2005); Carnival Corp. v.
Operadora Aviomar S.A. de C.V., 883 F. Supp. 2d 1316 (S.D. Fla. 2012) (dismissing case
because federal court lacked federal question, admiralty, and diversity subject matter
jurisdiction).

19. Subject matter jurisdiction cannot be created by waiver, inaction, or stipulation.
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Winn & Lovett Grocery Co. v. Luke, 156 Fla. 638, 641 (1945); Fitzgerald v. Seaboard Sys.

R.R., Inc., 760 F.2d 1249, 1251 (11th Cir. 1985); The Republic, 62 U.S. 386, 388 (1858).

20. Federal courts have limited subject matter jurisdiction. Keene Corp. v. United

States, 508 U.S. 200, 207 (1993).

21. The Supreme Court “wisely adopted a presumption that every federal court is
‘without jurisdiction’ unless the ‘contrary affirmatively appears from the record.’”

Delaware v. Van Arsdall, 475 U.S. 673, 692 (1986).

22. The Federal Court does not have subject matter jurisdiction over this case because

of the parties involved and the claims made.

Admiralty and Maritime Claims
23. Admiralty and maritime claims involve a body of law and words that are often
misused and misapplied. See, e.g., Freeport Sulphur Co. v. S.S. Hermosa, 526 F.2d 300, 305
(Sth Cir. 1976) (incorrectly calling an “allision” a “collision”); see also Corby v. Kloster
Cruise Ltd., 1990 WL 488464, at **2-3 (N.D. Cal. Oct. 5, 1990) (incorrectly applying

exculpatory clause in passenger ticket in violation of maritime law).

24. A common misconception is the application of maritime law means a court has
admiralty subject matter jurisdiction. See, eg., Am. Dredging Co. v. Miller, 510 U.S. 443,

446-47 (1994).

25. The application of maritime law does not affect a state court’s subject matter
jurisdiction over a negligence case. F.g., Gen. Chem. Corp. v. De La Lastra, 852 S.W.2d

916, 920 (Tex. 1993).

26. Not all claims that arise on navigable waters are subject to admiralty subject matter
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jurisdiction. Armstrong v. Ala. Power Co., 667 F.2d 1385, 1387 (11th Cir. 1982); see also
Lozman v. City of Riviera Beach, Fla., 568 U.S. 115, 118-19, 130-31 (2013) (dispute over

houseboat on navigable water not within admiralty jurisdiction).

27. For example, federal courts have admiralty subject matter jurisdiction over
maritime claims brought as a proceeding in admiralty. JP. v. Connell, 93 F. Supp. 3d
1298, 1302 (M.D. Fla. 2015) (citing Madruga v. Superior Court, 346 U.S. 556, 560 (1954));

The Moses Taylor, 71 U.S. 411, 427-30 (1866).

28. However, state courts have original subject matter jurisdiction over negligence
claims brought at law and in personam like Plaintiffs claims in this case, even when
those claims arise on navigable water. J.P., 93 F. Supp. 3d at 1302-03; Royal Caribbean
Cruises, Ltd. v. Cox, 137 So. 3d 1157, 1158-59 (Fla. 3d DCA 2014); Hyer v. Caro, 17 Fla.

332, 350-62 (1879).

29. Conversely, federal courts do not have admiralty subject matter jurisdiction over
negligence claims brought at law and in personam. See The Belfast, 74 U.S. 624, 644
(1868). That remains the law today. J/.P., 93 F. Supp. 3d at 1302; Coronel v. AK Victory,
1 F. Supp. 3d 1175, 1181 (W.D. Wash. 2014); Armstrong v. Ala. Power Co., 667 F.2d

1385, 1387 (11th Cir. 1982).

30. The only way a federal court could have subject matter jurisdiction over a
negligence claim that arose on the water, and that was brought in personam and at law,
is if there is diversity subject matter jurisdiction. F.g., In re Chimenti, 79 F.3d 534, 538

(6th Cir. 1996).

31. When a negligence claim that arises on the water is brought at law, a plaintiff may

choose to file a lawsuit against the defendant in personam in state court under the state
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court’s original subject matter jurisdiction, or she could choose to file a lawsuit against
the defendant in personam and at law in federal court under the federal court’s original
diversity subject matter jurisdiction. F.g., Coronel, 1 F. Supp. 3d at 1181-85. There is no
other way for any state or federal court to have subject matter jurisdiction over a
negligence claim that arises on the water and that is brought at law and in personam. /d.
Thi Lacks Federal Diversi ject Matter Jurisdiction
32.Federal diversity subject matter jurisdiction requires complete diversity of citizenship

of the parties and requires that more than $75,000 to be in controversy.

33. Plaintiff and Defendant are foreign citizens so this case is not susceptible to federal
diversity subject matter jurisdiction.

This Case Lacks Federal Question Subject Matter Jurisdiction
34. Maritime claims, like the one Plaintiff brings in this case, do not present a
federal question. See, eg., Am. Ins. Co. v. 365 Bales of Cotton, 26 U.S. 511, 545-46

(1828).

35. That is because maritime claims “are as old as navigation itself’ and do not

“arise under the Constitution or laws of the United States.” Jd.

36. The maritime nature of a case simply does not provide a ground for federal
subject matter jurisdiction. Armstrong, 667 F.2d at 1388; Assiffv. Carnival Corp., 930

So. 2d 776, 778 (Fla. 3d DCA 2006).

37. Plaintiff sues Defendant at law and in personam for negligence, so this case is
not susceptible to federal question subject matter jurisdiction. Deroy v. Carnival Corp.,

18-CV-20653-UU (S.D. Fla. 2018).

This Case Lacks Federal Admiralty Subject Matter Jurisdiction
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38. Federal courts do not have admiralty subject matter jurisdiction over negligence
claims brought at law and in personam. See The Belfast, 74 U.S. at 644; J.P., 93 F. Supp.

3d at 1302; Coronel, 1 F. Supp. 3d at 1181; Armstrong, 667 F.2d at 1387.

39. Plaintiff sued Defendant in personam and at law for negligence, so this case is not
susceptible to admiralty subject matter jurisdiction. Deroy v. Carnival Corp., 18-CV-
20653-UU (S.D. Fla. 2018).

In Personam Claims and In Rem Claims
40.When a person is injured in an incident like Plaintiff in this case, the injured person
can sue the responsible parties in personam in a court that has personal jurisdiction
over the defendant parties, subject matter jurisdiction over the case, and is the proper

venue.
41. The cost for initiating an in personam lawsuit is a few hundred dollars.

42. The injured person could bring a libel in rem against the vessel if the vessel were
negligent. An in rem proceeding is an action in admiralty and can only be brought in
federal court. The person bringing an in rem proceeding is called the libellant. An in
rem proceeding involves having a federal marshal literally arrest the ship. F.g,
Warrant to Seize a Vessel, Stumpf v. Carnival PLC, No. 12-CV-00099 (S.D. Tex. Mar.
30, 2012). Arresting a vessel is a much more complicated and expensive process. An

improper arrest of a vessel can expose the libellant to significant penalties.

43. An admiralty proceeding in rem “is not a remedy afforded by the common law; it

is a proceeding under the civil law.” The Moses Taylor, 71 U.S. at 431.

44, A negligence case brought against a defendant in personam and at law, like this
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case, is not an action in admiralty and is not within the admiralty subject matter

jurisdiction of the federal courts. Id.; Armstrong, 667 F.2d at 1388

Master of Claims
45. A plaintiff is the master of her claims and decides which claims to bring and
which remedies to seek for a wrong. See Fed. R. Civ. P. 8(a); Fla. R. Civ. P.

1.110(g).

46. A plaintiff is not “compelled to proceed in the admiralty at all” and “may
resort to [her] common-law remedy in the state courts.” Norman v. Switzer, 93 U.S.

355, 356 (1876).

47. In this case, Plaintiff chooses to sue Defendant at law and in personam for

negligence.

48. It is the claims made, not the claims that could have been made, that
determine whether a court has subject matter jurisdiction over the dispute brought
before it. Caterpillar, Inc. Williams, 482 U.S. 386, 398 (1987); see also Perry v. Merit
Sys. Prot. Bd., U.S. 137 S.Ct. 1975, 1984 (2017); Donzi Marine Corp. v. Roscioli Int'l,
Inc., 596 So. 2d 146, 147 (Fla. 4th DCA 1992); In re Motor Ship Pac. Carrier, 489
F.2d 152, 157 (Sth Cir. 1974); Ernst & Ernst v. United States Dist. Ct., So. Dist. Tex.,
439 F.2d 1288, 1293 (Sth Cir. 1971); Jett v. Zink, 362 F.2d 723, 730 (Sth Cir. 1966);
Wadkins v. Campbell, 156 So. 2d 887, 889 (Fla. 2d DCA 1963); Mexican Cent. Ry.
Co. v. Eckman, 187 U.S. 429, 433-34 (1903). The question of whether federal
subject matter jurisdiction exists “depend[s] on the particular claims a suitor makes
in a state court-on how [she] casts [her] action.” Pan Am. Petro. Corp. v. Sup. Ct. of
Del. in and for New Castle County, 366 U.S. 656, 662 (1961); see also Foster v. Chatman,

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USS. 136 S. Ct. 1737, 1745 (2017) (subject matter jurisdiction determined by claims
made).

Defendant’s Passenger Contr:
49. Plaintiff is not bringing a contractual claim for damages. Plaintiffs sole cause of
action for damages is based on negligence. Plaintiff merely references some parts of
Defendant’s Passenger Contract to explain why the Federal Court does not have subject

matter jurisdiction over the claims in this lawsuit.

50. Defendant’s passenger contract requires passenger injury cases like this one to be
“litigated, if at all, before the United States District Court for the Southern District of
Florida in Miami, Florida U.S.A., or as to those lawsuits to which the United States
District Court for the Southern District of Florida lacks subject matter jurisdiction,

before a court of competent jurisdiction in Miami-Dade County, Florida U.S.A. ....

(Passenger Contract § 14)! (emphasis added).

51. Note, the question of subject matter jurisdiction turns on the contents of the
passenger’s lawsuit, not the nature of the casualty, not some hypothetical claim that

could have been brought; it is the actual claims made in the lawsuit that control where

 

suit must be filed.

52. Thus, Defendant acknowledge the federal courts will not have jurisdiction over

every lawsuit between them and a passenger.
53. That is the language Defendant chose to put in their Passenger Contract.

54. Defendants cannot create subject matter jurisdiction for any court through the

 

! Plaintiff was not provided with a passenger ticket contract. The representations made herein are based upon a passenger ticket contract obtained
by counsel for Plaintiff from Defendant’s website.

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Passenger Contract. Winn & Lovett Grocery Co., 156 Fla. at 641; Fitzgerald, 760 F.2d at

1251; The Republic, 62 U.S. at 388.

55. Defendant cannot deny Plaintiff the right to a trial by a court of competent
jurisdiction. 46 U.S.C. § 30509(a)(1)(B).

56. That is why Defendant has that alternative lawsuit filing provision in the contract.

Cases Incorrectly Appearing to Address the Issue in this Case

57. Carnival v. Shute held a forum selection clause in a ship’s passenger ticket was
enforceable. 499 U.S. 585, 596-97 (1991). Shute does not require Plaintiffs negligence
claims against Defendant in personam and at law to be filed in federal court. Shute
does not approve limiting the Plaintiff's forum to the Federal District Court. The ticket
contract approved by the Court in Shute contained venue provision which required suits

against Carnival be filed in the State of Florida.

58. Respectfully, Leslie v. Carnival Corp. is a good example of judges and lawyers falling
prey to the misuse and misunderstanding of the words and concepts that apply to
negligence claims that arise on the water. 22 So. 3d 561, 567 (Fla. 3d DCA 2009).
Leslie quotes the contractual language allowing for suits to be filed in state court in
Miami-Dade County but fails to grasp the importance of that language. Jd. at 562.
Leslie states in a conclusory fashion that many injured passengers will be forced to file
on the admiralty side of federal court. Jd. at 564. However, Leslie fails to discuss that it
is the claim presented that determines whether a court has subject matter jurisdiction.
See id. passim. Leslie contains no discussion of the difference between in rem and in
personam claims, or libel claims versus claims brought at law, or how those variables

affect subject matter jurisdiction. See id. passim. The dissent in the Leslie rehearing

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ruling comes so close to recognizing the distinction made in this document. Leslie v.

Carnival Corp., 22 So. 3d 567, 577-78 (Fla. 3d DCA 2009).

59. Newell v. Carnival Cruise Lines dismissed a personal injury lawsuit “because the
federal court ha[d] admiralty jurisdiction over the case.” 180 So. 3d 178, 179 (Fla. 3d
DCA 2015). Respectfully, that was an incorrect statement. Newell sued Carnival at
law and in personam in a Florida court. Therefore, Newell’s claim was not a claim in
admiralty that fell within the admiralty jurisdiction of the federal courts, and the
dismissal and its affirmance were wrong. Newell incorrectly states, “Because the ticket
contract between the parties mandates that where federal admiralty jurisdiction exists,
Newell was required to bring her action in the United States Federal Court, and the
trial court properly dismissed Newell’s state court complaint with prejudice.” Id. at
183. Defendants’ passenger contract states it must be sued in federal court when the
federal court has subject matter jurisdiction over the lawsuit that is filed. (Passenger
Contract § 12.) The Passenger Contract does not state whether a passenger must bring
a claim in personam or in rem. It simply states that if the federal court has subject
matter jurisdiction over the claims made in the lawsuit then it must be filed in federal
court. The distinction explained in this document between claims brought in admiralty

versus claims brought at law and in personam was not discussed in Newell.

60. Unfortunately, many other cases have conflated or confused the concepts of
forum, subject matter jurisdiction, personal jurisdiction, claims presented, and
applicable law when discussing negligence claims that arose on the water.

Further Confusion

61. Sellers v. Carnival Cruise Line is an example of a court confusing personal jurisdiction

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and subject matter jurisdiction. 2015 WL 5778758, at *1 (NY County Civ. Ct. Aug.
31, 2015). Sellers discusses personal jurisdiction but incorrectly cites a case discussing
the inability to waive subject matter jurisdiction. Jd.
62. In Fritsche v. Carnival Corp., the court confused all three concepts and agreed with
Carnival’s misleading argument that the New York court “lacked personal and
subject matter jurisdiction based upon the forum selection and one-year time
limitation in the contract of carriage ... .” 18 N.Y.S.3d 413, 414 (N.Y. 2d App. Div.
2015). As stated above, venue, personal jurisdiction, and subject matter jurisdiction
are independent inquiries.

Moments of Clarity
63. Some courts have written precise opinions acknowledging the discrete concepts of
venue, subject matter jurisdiction, and personal jurisdiction. Dirks v. Carnival Cruise
Lines, 642 F. Supp. 971, 972-74 (D. Kan. 1986) (discussing difference between personal
and subject matter jurisdiction). In Lieberman v. Carnival Cruise Lines, the court correctly
stated, “the applicability of a forum selection ... clause is not a jurisdictional issue.”

2014 WL 3906066, at *7 (D.N.J. Aug. 7, 2014) (ellipses in original).

64. Florida resident passenger claims brought in personam, similar to this case, have been
dismissed by the federal court in the southern district for lack of subject matter jurisdiction.
See Siliakus v. Carnival Corp, Case No. 1:18-cv-25137-UU (D.E. 14); Diaz v. BPCL
Management, LLC d/b/a Bahamas Paradise Cruise Line, Case No. 18-cv-61379-BLOOM
(D.E. 4 and 8).

Plaintiffs Incident

65. Defendant owned, operated, possessed, and controlled the NCL BLISS.

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66. At all times material to this action, the vessel NCL BLISS was located in navigable

waters.

67. At all times relevant to this action, Defendant was engaged in the business of providing
to the public, for compensation, vacation cruises aboard its vessel, NCL BLISS.

68. Plaintiff was a paying passenger, lawfully aboard the ship for a multi-day cruise
beginning on or about June 9, 2018.

69. The cruise traveled between at least one domestic port and one foreign port.

70. Defendant knew or should have known the ship had a dangerous condition
and/or a defective door in his stateroom.

71. The hazard(s) was/were hidden from Plaintiff.

72. On or about June 15, 2018, Plaintiff was severely injured due to a dangerous
condition and/or defective door in his stateroom.

73. As Plaintiff entered his stateroom, an unexpected draft of air (believed to be air
pressure from the open balcony door inside the cabin) ripped the stateroom door
from his grasp and violently slammed the stateroom door shut on his right hand
index finger.

74. The top of Plaintiff finger was sliced off by the door and he suffered a severe
crush injury.

75. Plaintiff received medical care in the ship’s medical facility and from
Defendant’s medical personnel.

76. Plaintiff received bad medical care from Defendant’s medical facility and/or
medical personnel and/or other crew/employees.

77. Defendant did not preserve the severed tip of Plaintiffs finger and threw it out.

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78. Defendant delayed the provision of emergency medical treatment.

79. Defendant failed to take the necessary steps to get Plaintiff off the vessel as
soon as possible for emergency medical care on shore.

80. Defendant improperly treated his finger on board the ship.

81. Plaintiff ultimately required a partial amputation of his right index finger.
82. This lawsuit is timely.

83. Defendant was actively involved in the design and selection of the cruise ship
(including the stateroom, balcony door and stateroom door where Plaintiff was
injured).

84. Defendant inspected, accepted, and approved the ship (including the
stateroom, balcony door and stateroom door where Plaintiff was injured) before

she was placed into service and after she was placed into service.

Count 1— Negligence

85. Plaintiff incorporates paragraphs 1-84.

86. At all times material hereto, Defendant had exclusive custody and control of

the above named cruise ship, including the stateroom, balcony door and stateroom
door involved in the subject incident.

87. At all times material hereto, Defendant owed a duty to their passengers,

including Plaintiff, to exercise reasonable care for the health, welfare, and safety of
their passengers, including the duty to exercise reasonable care to maintain and
operate its cruise vessel in a reasonably safe condition.

88.  Atall times material hereto, Defendant, by and through its vessel, crew, agents,

servants, officers, staff, and/or employees, who were acting within the scope of their

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employment and/or agency, undertook to create and/or design (and/or to approve the

design of) and/or inspect and/or maintain, a dangerous and hazardous condition.

89. At all times material hereto, Defendant knew or, in the exercise of reasonable

care, should have known that the dangers and risks associated with the subject

stateroom, balcony door and stateroom door would increase the likelihood of
passengers being injured.

90. Plaintiff had no knowledge of the hidden dangerous condition of the stateroom

and doors, that ultimately caused him harm.

91. It was the duty of Defendant to provide Plaintiff with reasonable care under the
circumstances.

92. On or about June 15, 2018, Defendant and/or its agents, servants, and/or
employees breached its duty to provide Plaintiff with reasonable care under the
circumstances.

93. Plaintiff was injured due to the fault and/or negligence of Defendant, and/or

its agents, servants, and/or employees as follows:

a. Negligently failed to have a door dampener or other device to slow down the rate at
which the door closed;

b. Negligently failed to provide Plaintiff sufficient warning of the dangerous condition,
including but not limited to the door closing quickly and/or the wind tunnel/air
pressure;

c. Negligently failed to maintain said vessel, and more particularly the door upon which
Plaintiff injured, in a reasonably safe condition;

d. Negligently failed to adequately inspect, maintain and/or repair the subject door;

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e. Accepted the ship from the contractor who built it, or it maintained a hazardous
condition, specifically the dangerous door and unreasonably configured stateroom
where Plaintiff injured, in failing to maintain the subject areas of the ship in a safe
condition and by failing to warn Plaintiff of the dangerous and hazardous
condition(s) of the stateroom and/or door which Defendant accepted upon
inspection of the completed vessel from the contractor that built the vessel and about
which it had actual or constructive notice;

f. Negligently failed to warn Plaintiff about the dangerous and unreasonably dangerous
condition of the stateroom, balcony door and stateroom door chosen by Defendant
and not known to or readily observable by Plaintiff,

g. Defendant, their agents and/or employees failed to have in place warning signs or
other warnings to alert Plaintiff to the dangers posed by the aforesaid defective
and/or dangerous condition of the door;

h. Negligently failed to properly train and/or supervise its crew members and/or
employees to properly maintain the door so that it would not become dangerous, so
that the passengers like Plaintiff would not be injured;

i. Negligently failed to implement policies or procedures to provide effective warnings
to passengers of unsafe or dangerous conditions on board;

j. Negligently failed to properly train and supervise its employees and/or crewmembers
regarding warning passengers of unsafe or dangerous conditions on board;

k. Negligently failed to institute safety inspection procedures to make sure that such
above-described unsafe conditions aboard said vessel, were discovered and made

safe;

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1. Negligently failed to properly carry out safety inspection procedures to make sure
that such above-described unsafe conditions aboard the vessel were discovered and
made safe;

m. Knew of the existence of wind tunnels, air pressure and/or air drafts affecting doors
on the cruise ships;

n. Knew of the existence of quickly slamming doors on the cruise ships;

o. Knew of the existence of said dangerous and defective conditions or, in the exercise
of reasonable care, should have known of the existence of said dangerous conditions
and failed to remedy the dangerous conditions;

p. Knew of the existence of said dangerous and defective above-described conditions, or
in the exercise of reasonable care should have known of the existence of said
dangerous conditions and failed to adequately repair/correct the dangerous
conditions or to give an effective warning to any and all passengers including
Plaintiff;

q. Negligently created said above-described dangerous and defective condition by
specifying, approving and/or accepting the stateroom and door with knowledge of
the dangerous nature of the door, due to other incidents on the same or similar doors
on board the NCL BLISS and/or throughout its fleet of vessels and/or other cruise
lines vessels;

r. Negligently selecting the door and door equipment utilized in the area where Plaintiff
was injured, because of the prior incidents on the same or similar doors utilized on
board the NCL BLISS and/or the other vessels throughout its fleet and/or other

cruise line vessels;

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s. Negligently failing to determine the door dampener or other door mechanism was
inadequate before allowing passengers to utilize the stateroom;

t. Negligently failed to maintain said vessel, and more particularly failed to provide a
reasonably safe door for use on is ship, failed to inspect and/or test the door and its
mechanisms to ensure that they were properly installed and functioning reasonably
safe; and,

u. Defendant knowing of the dangerous nature of the door because of numerous prior
failures on this or other doors on its ships throughout their fleet of vessels negligently
designed, constructed, selected the door and stateroom where Plaintiff was injured

and/or approved the use of the door.

94. Defendant was on actual or apparent notice of the danger(s) due to, inter alia, prior
failures on the NCL BLISS and/or other ships in its fleet. See, e.g., Taiariol v MSC Crocioere,
S.A., 677 Fed. Appx. 599, 601 (11 Cir. 2017)(“while Taiariol was not required to show that
another passenger slipped on the same step while in the same theatre of the same ship during
the same trip ...she at least had to produce evidence that another person, while aboard one
of the defendant’s ships, slipped on the nosing of one of the ship’s steps.”).

95. Defendant was also on notice of the dangerous condition by virtue of its legal and
risk management departments’ investigations and defense of substantially similar cases on a
fleet wide basis. Defendant maintain computerized searchable records on a fleet-wide basis
which records contain evidence of actual or constructive notice.

96. Additionally, the dangerous condition was well known to Defendant because of the
use of signs and/or other devices attempting to warn of the same/similar condition
pertaining to doors on the NCE BLISS and/or other ships in the fleet. Sorrels v. NCL
(Bahamas) Ltd., 796 F.3d 1275, 1288-89 (11" Cir. 2015); Frasca v. NCL (Bah.), Ltd., 654 Fed.

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Appx. 949, 954 (11™ Cir. 2016)(Use of warnings allows the inference that the cruise ship
operator had actual or constructive knowledge).

97. Defendant was also on notice of the dangerous condition by virtue of its involvement
with Cruise Line International Association and association with other cruise lines that have
had substantially similar cases on cruise ships in their fleets. The dangerous condition
involved in this case is an industry wide issue that provides actual or constructive notice.

98. The dangerous condition(s) created a foreseeable zone of risk to Plaintiff.

99. Defendant knew about the dangerous condition(s)s, or they existed long enough that
Defendant should have discovered them in exercising due care, or they occurred with such
frequency that Defendant were on notice of them.

100. Defendant created the dangerous condition(s).

101. The above described dangerous condition(s) was/were neither open nor obvious to
the Plaintiff, and accordingly, the Defendant owed Plaintiff a duty to warn him and/or to
correct the conditions.

102. Defendant negligently failed to determine the hazards on and near the vessel to
Plaintiff, failed to eliminate the hazard, failed to modify the hazard and failed to properly
warn Plaintiff of the hazard.

103. As a direct and proximate result of Defendant’s negligence as described herein,
Plaintiff sustained serious injuries, resulting in loss of function, pain and suffering, disability,
disfigurement, mental anguish, loss of earning capacity, the expense of medical care and
treatment and loss of the capacity of enjoyment of life. Additionally, Plaintiff lost the value
of the monies paid for his cruise and/or carriage aboard Defendant’s passenger cruise ship
NCL BLISS. Plaintiff's losses are permanent and continuing in nature and he will suffer such
losses in the future.

WHEREFORE, the Plaintiff, GORDON APPLEBY, demands judgment against the

Defendant for all damages which are recoverable under the General Maritime Law of the United
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States, the laws of the State of Florida and any other damages which she may be entitled to, pre and

post judgment, interest; and, any and all other damages and remedies that the Court deems just and

proper, and requests a trial by jury of all issues so triable.

DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by jury of all of the issues triable by right.

Dated this 13 day of May, 2019.

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